














NUMBER 13-07-097-CR


COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________


ROBERT CLARK,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____________________________________________________________




On appeal from the 230th District Court

of Harris County, Texas.

____________________________________________________________


MEMORANDUM OPINION





Before Justices Yañez, Garza, and Benavides


Memorandum Opinion Per Curiam



	Appellant, ROBERT CLARK, attempts to appeal a conviction for aggravated
sexual assault of a child.  The trial court has certified that this "is a plea-bargain case,
and the defendant has NO right of appeal."  See Tex. R. App. P. 25.2(a)(2).

	On February 28, 2007, this Court notified appellant's counsel of the trial court's
certification and ordered counsel to: (1) review the record; (2) determine whether
appellant has a right to appeal; and (3) forward to this Court, by letter, counsel's
findings as to whether appellant has a right to appeal, or, alternatively, advise this
Court as to the existence of any amended certification.

	On April 3, 2007, counsel filed a letter brief with this Court.  Counsel's
response does not establish (1) that the certification currently on file with this Court
is incorrect or (2) that appellant otherwise has a right to appeal.  

	The Texas Rules of Appellate Procedure provide that an appeal must be
dismissed if the trial court's certification does not show that the defendant has the
right of appeal.  Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4.
Accordingly, this appeal is dismissed.  Any pending motions are denied as moot.


						PER CURIAM


Do not publish.  

Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and 

filed this the 19th day of April, 2007.






							


